EXHIBIT 1
                                                            Page 210

 1                      UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NEW YORK
 2
        FULL CIRCLE UNITED, LLC,
 3
               Plaintiff,
 4      vs.                       Civ. Action No. 1:20-cv-03395
 5      BAY TEK ENTERTAINMENT, INC.,
 6           Defendant.
        _______________________________/
 7
        BAY TEK ENTERTAINMENT, INC.,
 8
               Counterclaim Plaintiff,
 9      vs.
10      FULL CIRCLE UNITED, LLC,
11           Counterclaim Defendant,
        and
12
        ERIC PAVONY,
13
             Additional Counterclaim Defendant.
14      ________________________________________/
15
                             VOLUME II OF III
16                          (Pages 210 - 374)
17      VIDEOTAPED
        DEPOSITION OF:         HOLLY HAMPTON
18
        TAKEN BY:              The Plaintiff/Counterclaim
19                             Defendants
20      DATE TAKEN:            Wednesday, June 22, 2022
21      TIME:                  9:07 a.m. - 3:13 p.m.
                               Central Standard Time
22
        PLACE:                 Via Zoom Videoconference
23
        REPORTED BY:           Tonya H. Magee, Registered
24                             Professional Reporter and Notary
                               Public, State of Florida at Large
25

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                                                               Page 313

 1             Q.   You testified that Bay Tek made a decision, at
 2      some point, to not continue to support the Skee-Ball
 3      Live project, right, because of funding, I believe was
 4      your testimony; is that right?
 5             A.   It -- we chose to no longer support it,
 6      meaning putting the prototype project on hold for
 7      several reasons.    One of them is we did not want to
 8      continue to fund it.
 9             Q.   Did Betson want to fund the Skee-Ball Live
10      project?
11             A.   I -- I don't know.       I don't know.   I don't
12      know if I ever asked.     I can't imagine that that was a
13      conversation.
14             Q.   So if the Skee-Ball Live project was put on
15      hold until Full Circle obtained funding and Betson would
16      not have been a person to fund the project, what purpose
17      did you need to provide Betson information about the
18      Skee-Ball Live lane?
19             A.   So funding from them is to give us money to
20      continue to develop.     They could have helped fund it
21      from the financing they have.          They consider themselves
22      a financing entity and not a distributing entity.          So if
23      the product had ever come to market, that's when we
24      could have had -- could have helped fund Full Circle by
25      financing.

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 1                       UNITED STATES DISTRICT COURT
 2                       EASTERN DISTRICT OF NEW YORK
            ______________________________________________
 3
            FULL CIRCLE UNITED, LLC,
 4
                    Plaintiff,
 5
            vs.                  Civ. Action No. 1:20-cv-03395
 6
            BAY TEK ENTERTAINMENT, INC.,
 7
                    Defendant.
 8          ____________________________/
 9          BAY TEK ENTERTAINMENT, INC.,
10                  Counterclaim Plaintiff,
11          vs.
12          FULL CIRCLE UNITED, LLC,
13                  Counterclaim Defendant,
14          and
15          ERIC PAVONY,
16                  Additional Counterclaim Defendant.
            ______________________________________________
17
18                        Remote Videotaped Deposition of
19          HOLLY HAMPTON, Volume III of III, taken at the
20          instance of the Plaintiff/Counterclaim
21          Defendants, before KATHY P. PABICH, a Notary
22          Public in and for the State of Wisconsin,
23          taken from Green Bay, Wisconsin, on June 30,
24          2022, commencing at 12:49 p.m. and concluding
25          at 6:16 p.m., Central Standard Time.

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 1      like.       It's a public record.
 2                  MS. CASADONTE-APOSTOLOU:         She was supposed to
 3      prepare.       It's part of testimony on this area of
 4      inquiry.
 5                  MR. MOVIT:   She did.
 6                  MS. CASADONTE-APOSTOLOU:         Well, she said she
 7      doesn't know, she doesn't know why --
 8                  MR. MOVIT:   You haven't showed her a picture.
 9      Show her a picture.
10                  THE WITNESS:   I don't know how I could
11      possibly remember and re -- and be -- remember every
12      single thing that has happened in the last six years
13      on this topic in -- in depth with those 36 corporate
14      topics.       I just -- I -- I apologize.             I --
15      BY MS. CASADONTE-APOSTOLOU:
16          Q       No one's asking you to remember every single
17      thing that happened in the last six years.                   Anyway.
18      Okay.       So are there any plans -- are there any plans
19      to produce -- or sorry.         Strike that.
20                  Are there any plans by Bay Tek to build more
21      Skee-Ball Live lanes?
22          A       No.
23          Q       Are there any plans by Bay Tek to use the
24      Skee-Ball Live mark in any -- any way?
25          A       No.

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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF NEW YORK




FULL CIRCLE UNITED, LLC,
                                                             Case No.    1:20-cv-03395-BMC
                    Plaintiff,
         v.
                                                             ERRATA SHEET
BAY TEK ENTERTAINMENT, INC.,

                    Defendant.



BAY TEK ENTERTAINMENT, INC.,

                   Counterclaim Plaintiff,
             v.

FULL CIRCLE UNITED, LLC,

                   Counterclaim Defendant,

        and

ERIC PAVONY,

                  Additional Counterclaim Defendant.




         Holly Hampton, being duly sworn, deposes and says:

    1. I have reviewed the transcript of my deposition taken on June 20, 22, and 30, 2022. The

         following changes are necessary to correct my testimony:


 Page/Line                Corrected Testimony                            Reason for Correction

 Page 51, lines 7-        I meant to say that Full Circle introduced     Clarification
 10                       themselves to us in 2015 before we bought SBI,
                          and then we actually met them in-person in



14442458.1
                     2016.
 Page 106, line 15   “Bay Tek” should be “Full Circle”                Misspoke/Clarification
 Page 111, line 17   Insert “an” between “Jensen’s” and “electrical “ Transcription error
 Page 184, line 5    Insert “the” between “use” and “Skee-Ball”       Clarification
 Page 193, line 14   Remove “and we”                                  Transcription error
 Page 197, line 24   “Pitch” should be “Rich.”                        Transcription error
 Page 227, line 19   “Simms” should be “Timm”                         Transcription error
 Page 231, line 7    “Matusak” should be “Matuszak”                   Transcription error
 Page 231, line 8    “Pralick” should be “Froelich”                   Transcription error
 Page 237, line 16   “bowler” should be “roller”                      Transcription error
 Page 263, line 13   “they’re” should be “they were”                  Transcription error
 Page 265, line 18   Insert “lane” after “Skee-Ball”                  Transcription
                                                                      error/Clarification
 Page 273, line 25   “skew” should be “SKU”                           Transcription error
 Page 274, line 24   “Jack Potrisen” should be “Jackpot Rising”       Transcription error
 Page 284, line 4    “who” should be “how”                            Transcription error
 Page 322, line 10   “skews” should be “SKUs”                         Transcription error
 Page 394, line 21   Remove “not”                                     Clarification
 Page 450, line 11   “exhausted” should be “exhaustive”               Transcription
                                                                      error/Clarification
 Page 456, line 14   Remove “well a”                                  Transcription error
 Page 459, line 23   “exhausted” should be “exhaustive”               Transcription
                                                                      error/Clarification
 Page 462, line 9    Insert “would” between “they” and “have”         Transcription
                                                                      error/Clarification
 Page 467, lines     The questioning refers to the use of the Skee-   Clarification based on
 13-24               Ball mark by the Ohio State Lottery as a         mischaracterization of
                     “permissible use of the Skee-Ball mark.” This testimony in Full
                     was not a “permissible use of the Skee-Ball      Circle’s August 9, 2022
                     mark.” I did not know about this use of the      Response to Bay Tek’s
                     Skee-Ball mark and did not endorse it.           Pre-Motion Letter (ECF
                                                                      No. 129).



                                                    ______________________________
                                                    HOLLY HAMPTON




                                               2
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